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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                KAF Recycling Corp

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12750 ALEXANDRIA DR                                             13992 Lake George Ct
                                  Opa Locka, FL 33054                                             Hialeah, FL 33014
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    KAF Recycling Corp                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    KAF Recycling Corp                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   KAF Recycling Corp                                                          Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    KAF Recycling Corp                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 17, 2023
                                                  MM / DD / YYYY


                             X   /s/ Coralia Cabrera                                                      Coralia Cabrera
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice President




18. Signature of attorney    X   /s/ Jacqueline Calderin, Esq.                                             Date April 17, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jacqueline Calderin, Esq. 134414
                                 Printed name

                                 Agentis PLLC
                                 Firm name

                                 55 Alhambra Plaza, Suite 800
                                 Miami, FL 33134
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-722-2002                  Email address      jc@agentislaw.com

                                 134414 FL
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name KAF Recycling Corp
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 AKF Inc.                              Certain Account                                                        Unknown                   Unknown                   Unknown
 88 Pine Street     sprfiling@cscgloba Receivables
 New York, NY 10005 l.com
 Bank of America                       Credit Card                                                                                                               $14,000.00
 Credit Card                           Purchases.

 Coast 2 Coast                                                                 Contingent                                                                                $0.00
 Recycling LLC                                                                 Unliquidated
 6021 SW 97th                                                                  Disputed
 Avenue
 Miami, FL 33169
 First Corporate                                     Blanket lien                                             Unknown                   Unknown                   Unknown
 Solutions,                sprs@ficoso.com
 Representativ
 914 S Street
 Sacramento, CA
 95811
 Great American                                      Shredder                                                 Unknown                   Unknown                   Unknown
 Equipment

 Mark Towing and                                                                                                                                                 $73,000.00
 Recovery
 600 W Oakland Park
 Blvd.
 Wilton Manors, FL
 33311
 Marlin Capital                                      Toyota Forklift                                                $0.00               Unknown                   Unknown
 P.O Box 13604
 Philadelphia, PA
 19101
 Mazda Financial                                     2021 Dodge RAM                                         $98,000.00                 $67,870.00                $30,130.00
 Po Box 74689                                        Pick-Up
 Chicago, IL 60675
 Nick Towing                                                                                                                                                     $62,500.00




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 Debtor    KAF Recycling Corp                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Regions Bank                                                                                                                                                    $72,000.00
 P.O Box 2224
 Birmingham, AL
 35246
 Regions Credit Card                                                                                                                                             $25,000.00

 Rudy Truck                                          2005 Freiland                                          $40,000.00                  Unknown                   Unknown
 9497 NW S River Dr                                  Rollof Truck
 Miami, FL 33166
 Synchrony                                                                                                                                                         $2,000.00
 P.O Box 530970
 Atlanta, GA 30353
 U.S. Small Business                                 Blanket lien                                          $500,000.00                  Unknown                   Unknown
 Administration
 2 North Street
 Suite 320
 Birmingham, AL
 35203
 Western Equipment                                   UCC-1                                                    Unknown                   Unknown                   Unknown
 Finance, Inc.                                       202109277853
 PO Box 640
 Devils Lake, ND
 58301




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            AKF Inc.
            88 Pine Street
            New York, NY 10005


            Bank of America Credit Card



            Chrysler Capital
            P.O Box 660335
            Dallas, TX 75266


            Coast 2 Coast Recycling LLC
            6021 SW 97th Avenue
            Miami, FL 33169


            Coast 2 Coast Recycling LLC
            c/o Robert J. McCaffery Jr., Esq.
            11098 Biscayne Blvd., Suite 100A
            Miami, FL 33161


            Complete Office
            16115 Southwest 117 Avenue
            Miami, FL 33177


            Elite Concrete
            12750 Alexandria Dr
            Opa Locka, FL 33054


            First Corporate Solutions, Representativ
            914 S Street
            Sacramento, CA 95811


            Great American Equipment



            Inaho Holdings, LLC
            6021 SW 97th Avenue
            Miami, FL 33173


            Inaho Holdings, LLC
            c/o Rober J. McCaffery Jr., Esq.
            11098 Biscayne Blvd., Ste 100A
            Miami, FL 33161
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        Inaho Holdings, LLC
        c/o Angelica M. Hoyos, Registered Agent
        6021 SW 97th Avenue
        Miami, FL 33173


        Inter Metal Recycling LLC
        12750-B Alexandria Dr.
        Opa Locka, FL 33054


        Inter Metal Recycling LLC
        c/o Robert J. McCaffery Jr., Esq.
        11098 Biscayne Blvd., Ste 100A
        Miami, FL 33161


        Inter Metal Recycling LLC
        c/o Jesus A. Narvaez, Registered Agent
        6021 SW 97th Avenue
        Miami, FL 33173


        Internal Revenue Service
        7850 SW 6 Court
        Mail Stop 5730
        Fort Lauderdale, FL 33324


        M.A.B. Compressor Inc.
        c/o Dunia B. Fleites
        8975 NW 178th Lane
        Hialeah Gardens, FL 33018


        M.A.B. Compressor Inc.
        c/o Gregory M. Ochalek
        19553 NW 2nd Avenue
        Miami Gardens, FL 33169


        M.B.A. Compressor Inc.
        3890 NW 132nd Street
        Bay H
        Opa Locka, FL 33054


        Mark Towing and Recovery
        600 W Oakland Park Blvd.
        Wilton Manors, FL 33311


        Marlin Capital
        P.O Box 13604
        Philadelphia, PA 19101
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        Mazda Financial
        Po Box 74689
        Chicago, IL 60675


        Miami-Dade County Tax Collector
        200 N.W. Second Avenue, Suite 430
        Bankruptcy Paralegal Unit
        Miami, FL 33128


        Nationwide Lift Trucks Inc.
        3900 N 28th Terrace
        Hollywood, FL 33020


        Nick Towing



        PNC Equipment Finance, Inc.
        655 Business Center Drive
        Horsham, PA 19044


        Regions Bank
        P.O Box 2224
        Birmingham, AL 35246


        Regions Credit Card



        Rudy Truck
        9497 NW S River Dr
        Miami, FL 33166


        Siembra Fresh, LLC
        6021 SW 97th Avenue
        Miami, FL 33173


        Siembra Fresh, LLC
        c/o Jesus A. Narvaez, Registered Agent
        6021 SW 97th Avenue
        Miami, FL 33173


        Synchrony
        P.O Box 530970
        Atlanta, GA 30353
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        U.S. Small Business Administration
        2 North Street
        Suite 320
        Birmingham, AL 35203


        U.S. Small Business Administration
        51 SW 1st Ave #201
        Miami, FL 33130


        Western Equipment Finance, Inc.
        PO Box 640
        Devils Lake, ND 58301


        Willscot
        4646 E. Van Buren Street
        Phoenix, AZ 85008
